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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

   Case No.       CV 17-420 JGB (KSx)                                 Date 11/7/18
   Title Western Air Charter, Inc. v. Paul Schembari, et al.


   Present: The Honorable         JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


                 MAYNOR GALVEZ                                         Not Reported
                   Deputy Clerk                                       Court Reporter


      Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
                   None Present                                        None Present

   Proceedings:      Order Directing Parties to Meet and Confer and to File Joint Document
                     Regarding Motions to Seal by Wednesday, November 14, 2018 (IN
                     CHAMBERS)

          Upon review of the parties’ numerous submissions seeking leave to file under seal
  evidence and briefing related to their cross-motions for summary judgment, the Court is
  concerned that the parties are abusing the Court’s procedure for filing under seal. Parties are
  directed to meet and confer to discuss their positions regarding the sealing of documents related
  to their cross-motions for summary judgment. After meeting and conferring, the parties shall
  submit to the Court a joint stipulation specifying which documents each party seeks to file under
  seal. For each document for which a party seeks to file under seal, parties are to include the
  following information:

         a description of the document for which sealing is sought;
         the party seeking sealing of the document;
         the docket number or numbers under which the document for which sealing is sought was
          filed;
         whether the sealing of that document is opposed;
         a summary of arguments made in support of and, if applicable, in opposition to sealing
          that document.

  Parties are to meet and confer and submit this document to the Court no later than Wednesday,
  November 14, 2018. The document is not to exceed 25 pages in length.



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          The Court is strongly disinclined to entertain any further motions or briefing as to the
  sealing of documents related to the parties’ cross motions for summary judgment.

          IT IS SO ORDERED.




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